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10
   Attorneys for Plaintiff,
11 Claudia Garcia
12
13                               UNITED STATES DISTRICT COURT
14                             EASTERN DISTRICT OF CALIFORNIA
15                                     FRESNO DIVISION
16
     Claudia Garcia,                            Case No.: 1:10-cv-01660-OWW-GSA
17
                         Plaintiff,             NOTICE OF SETTLEMENT
18
19           vs.
20
   Leading Edge Recovery Solutions LLC;
21 and DOES 1-10, inclusive,
22
                 Defendants.
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     1:10-cv-01660-OWW-GSA                                      NOTICE OF SETTLEMENT
      Case 1:10-cv-01660-OWW-GSA Document 5 Filed 11/09/10 Page 2 of 4


 1                             NOTICE OF SETTLEMENT
 2
           NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have
 3
 4 reached a settlement. The Plaintiff anticipates filing a notice of withdrawal of
 5 Complaint and voluntary dismissal of this action with prejudice pursuant to Fed. R.
 6
   Civ. P. 41(a) within 30 days.
 7
 8
 9
10    Plaintiff
11      /s/ Lara Shapiro
12    LARA SHAPIRO
13    Attorney for Plaintiff
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     1:10-cv-01660-OWW-GSA                                            NOTICE OF SETTLEMENT
      Case 1:10-cv-01660-OWW-GSA Document 5 Filed 11/09/10 Page 3 of 4


 1                                 CERTIFICATE OF SERVICE
 2
           I, the undersigned, certify and declare that I am over the age of 18 years, and
 3
 4 not a party to the above-entitled cause. On November 9, 2010, I served a true copy of
 5 foregoing document(s): NOTICE OF SETTLEMENT.
 6
 7 BY ELECTRONIC FILING: I hereby                Attorney for Defendants
 8 certify that on November 9, 2010, a copy
   of the foregoing document was filed
 9 electronically. Notice of this filing will be
10 sent by operation of the Court's electronic
   filing system to all parties indicated on
11 the electronic filing receipt. All other
12 parties will be served by regular U.S.
   Mail. Parties may access this filing
13 through the Court's electronic filing
14 system.
   Tel.:
15 Fax:
16 Email:
17
18         I am readily familiar with the firm's practice of collection and processing
19 correspondence for mailing. Under that practice it would be deposited with the U.S.
20
   Postal Service on that same day with postage thereon fully prepaid in the ordinary
21
22 course of business. I am aware that on motion of the party served, service is presumed
23 invalid if postal cancellation date or postage meter date is more than one day after the
24
   date of deposit for mailing in affidavit.
25
26         I hereby certify that I am employed in the office of a member of the Bar of this
27 Court at whose direction the service was made.
28
                                             3
     1:10-cv-01660-OWW-GSA                                             NOTICE OF SETTLEMENT
      Case 1:10-cv-01660-OWW-GSA Document 5 Filed 11/09/10 Page 4 of 4


 1         Executed on November 9, 2010.
 2
                                                   /s/ Lara Shapiro
 3                                                LARA SHAPIRO
 4                                                Attorney for Plaintiff

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     1:10-cv-01660-OWW-GSA                                      NOTICE OF SETTLEMENT
